Case 2:15-cv-01673-JCM-GWF Document 9-4 Filed 01/06/16 Page 1 of 9




                COMPOSITE
                 EXHIBIT 4

            Second Ring of Websites
Case 2:15-cv-01673-JCM-GWF Document 9-4 Filed 01/06/16 Page 2 of 9




                     EXHIBIT 4.1
                     Homepage of
                    < pornburst.xxx>
Case 2:15-cv-01673-JCM-GWF Document 9-4 Filed 01/06/16 Page 3 of 9
Case 2:15-cv-01673-JCM-GWF Document 9-4 Filed 01/06/16 Page 4 of 9




                     EXHIBIT 4.2
                    Homepage of
                 < bundesporno.xxx>
Case 2:15-cv-01673-JCM-GWF Document 9-4 Filed 01/06/16 Page 5 of 9
Case 2:15-cv-01673-JCM-GWF Document 9-4 Filed 01/06/16 Page 6 of 9




                     EXHIBIT 4.3
                     Homepage of
                     < pornalia.xxx>
Case 2:15-cv-01673-JCM-GWF Document 9-4 Filed 01/06/16 Page 7 of 9
Case 2:15-cv-01673-JCM-GWF Document 9-4 Filed 01/06/16 Page 8 of 9




                     EXHIBIT 4.4
                    Homepage of
                   <gauleporno.xxx>
Case 2:15-cv-01673-JCM-GWF Document 9-4 Filed 01/06/16 Page 9 of 9
